              Case 21-1365, Document 421, 12/15/2023, 3598445, Page1 of 45

21-1365 (en banc)
Soule ex rel. Stanescu v. Connecticut Association of Schools, Inc.




                          United States Court of Appeals
                             For the Second Circuit

                                             August Term 2022

                                      Argued en banc: June 6, 2023
                                      Decided: December 15, 2023

                                                  No. 21-1365



SELINA SOULE, A MINOR, BY BIANCA STANESCU, HER MOTHER; CHELSEA MITCHELL, A
   MINOR, BY CHRISTINA MITCHELL, HER MOTHER; ALANNA SMITH, A MINOR, BY
 CHERYL RADACHOWSKY, HER MOTHER; ASHLEY NICOLETTI, A MINOR, BY JENNIFER
                           NICOLETTI, HER MOTHER,

                                            Plaintiffs-Appellants,

                                                         v.

      CONNECTICUT ASSOCIATION OF SCHOOLS, INC. D/B/A CONNECTICUT
 INTERSCHOLASTIC ATHLETIC CONFERENCE; BLOOMFIELD PUBLIC SCHOOLS BOARD
OF EDUCATION; CROMWELL PUBLIC SCHOOLS BOARD OF EDUCATION; GLASTONBURY
   PUBLIC SCHOOLS BOARD OF EDUCATION; CANTON PUBLIC SCHOOLS BOARD OF
         EDUCATION; DANBURY PUBLIC SCHOOLS BOARD OF EDUCATION,

                                            Defendants-Appellees,

   ANDRAYA YEARWOOD; THANIA EDWARDS, ON BEHALF OF HER DAUGHTER, T.M.;
            COMMISSION ON HUMAN RIGHTS AND OPPORTUNITIES,

                                    Intervenor-Defendants-Appellees.
           Case 21-1365, Document 421, 12/15/2023, 3598445, Page2 of 45




                    Appeal from the United States District Court
                          for the District of Connecticut
                     No. 20-cv-201, Robert N. Chatigny, Judge.



Before:      LIVINGSTON, Chief Judge, CHIN, LOHIER, CARNEY, SULLIVAN, BIANCO,
             PARK, NARDINI, MENASHI, LEE, ROBINSON, PÉREZ, NATHAN, MERRIAM,
             and KAHN, Circuit Judges. *

             NATHAN, J., filed the majority opinion in which LIVINGSTON, C.J.,
             SULLIVAN, BIANCO, PARK, NARDINI, and MENASHI, JJ., joined in full,
             LOHIER and ROBINSON, JJ., joined as to Part I, LEE and PÉREZ, JJ., joined
             as to Parts I.A, I.B.1, and II, and MERRIAM, J., joined as to Part II.

             PARK, J., filed a concurring opinion in which NARDINI and MENASHI,
             JJ., joined.

             MENASHI, J., filed a concurring opinion in which PARK, J., joined.

             NATHAN, J., filed a concurring opinion in which ROBINSON, J., joined.

             LOHIER, J., filed an opinion concurring in part and dissenting in part.

             PÉREZ, J., filed an opinion concurring in part and dissenting in part.

             MERRIAM, J., filed an opinion concurring in part and dissenting in
             part.

             CHIN, J., filed a dissenting opinion in which CARNEY and KAHN, JJ.,
             joined in full, MERRIAM, J., joined as to Parts I and II, LEE and PÉREZ,



∗
 Judge Chin and Judge Carney, who are senior judges, participated in this rehearing en banc
pursuant to 28 U.S.C. § 46(c)(1) and 28 U.S.C. § 294(c).


                                            2
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page3 of 45




             JJ., joined as to Part II, and LOHIER and ROBINSON, JJ., joined as to Part
             III.

       An athletic conference permits Connecticut high school students to
participate on athletic teams consistent with the gender identity established in
their school records. Four non-transgender female track and field athletes sued
the conference and member school districts, alleging that allowing transgender
girls to participate in girls’ track and field deprives them of equal athletic
opportunity in violation of Title IX. Two transgender female athletes intervened.
       We do not consider whether Plaintiffs’ Title IX claims have any merit or
whether they would be entitled to the relief that they seek as a matter of equity,
but rather whether the district court has jurisdiction to hear their claims in the first
instance. We conclude that it does, for the reasons advocated for both by Plaintiffs
and by Intervenors. First, Plaintiffs have established Article III standing at this
stage in the litigation. They have pled a concrete, particularized, and actual injury
in fact that is plausibly redressable by monetary damages and an injunction
ordering Defendants to alter certain athletic records. Second, the district court was
not required to determine whether Defendants had adequate notice of a Title IX
violation to be liable for monetary damages before reaching the merits of Plaintiffs’
Title IX claims.       Accordingly, we VACATE and REMAND for further
proceedings.
                                      ________

                                        JOHN J. BURSCH (Christiana M. Kiefer, Roger
                                        G. Brooks, Cody S. Barnett, Rory T. Gray, on
                                        the brief), Alliance Defending Freedom,
                                        Washington, DC, for Plaintiffs-Appellants.

                                        PETER J. MURPHY (Linda L. Yoder, on the
                                        brief), Shipman & Goodwin LLP, Hartford,
                                        CT, for Defendants-Appellees Connecticut
                                        Association of Schools, Inc. d/b/a Connecticut
                                        Interscholastic Athletic Conference; Danbury
                                        Public Schools Board of Education.




                                           3
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page4 of 45




                                      Johanna G. Zelman, FordHarrison, LLP,
                                      Hartford, CT, for Defendants-Appellees
                                      Bloomfield Public Schools Board of Education;
                                      Cromwell Public Schools Board of Education.

                                      David S. Monastersky, Howd & Ludorf,
                                      LLC, Hartford, CT, for Defendants-Appellees
                                      Glastonbury Public Schools Board of Education;
                                      Canton Public Schools Board of Education.

                                      JOSHUA A. BLOCK (Ria Tabacco Mar, Elana
                                      Bildner, Dan Barrett, on the brief), ACLU
                                      Foundation, New York, NY, for Intervenor-
                                      Defendants-Appellees Andraya Yearwood;
                                      Thania Edwards, on behalf of her daughter, T.M.

                                      Michael E. Roberts, Commission on Human
                                      Rights and Opportunities, Hartford, CT, for
                                      Intervenor-Defendant-Appellee Commission on
                                      Human Rights and Opportunities.
                                      ________


NATHAN, Circuit Judge:

      Ten years ago, the conference governing interscholastic sports in

Connecticut made the decision to permit high school students to participate in

school-sponsored athletics consistent with the gender identity established in their

school records. This case arose when Plaintiffs, a group of non-transgender girls,

challenged that policy in federal court, alleging that it violates Title IX, which




                                        4
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page5 of 45




prohibits sex discrimination in education.     To remedy their alleged injury,

Plaintiffs seek monetary damages from the athletic conference and its member

school districts, whom they named as Defendants. They also seek an injunction

requiring Defendants to alter certain athletic records by removing times of

transgender girls and reranking titles and placements of non-transgender girls.

      Whether Plaintiffs’ Title IX claims have any merit is not before us today.

Nor is Plaintiffs’ ultimate entitlement to a remedy. We consider only whether

Plaintiffs have standing to sue and whether they can, at this stage, seek monetary

damages. Although the specific issues before us are narrow and our decision very

limited in scope, questions of standing and the availability of monetary damages

have broad implications for all manner of civil rights litigation and civil rights

plaintiffs. Precedent and principle require that we proceed cautiously before

limiting access to courts and remedies.

      At core, we conclude that the case should return to the district court for

consideration in the first instance of whether Plaintiffs have plausibly stated a

claim under Title IX. In doing so, we adopt the outcome advocated for on appeal




                                          5
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page6 of 45




both by Plaintiffs and by Intervenors, the transgender girls against whom they

competed. More specifically, we conclude that further proceedings in the district

court are required for two reasons.

      First, we hold that Plaintiffs have pled facts sufficient to establish Article III

standing at this stage in the litigation. Plaintiffs all personally competed in high

school track in Connecticut, and they all identified instances in which they raced

against and finished behind one or both Intervenors. Plaintiffs allege—and we

must assume—that but for Intervenors’ participation in these specific races, they

would have placed higher. For the purposes of the standing inquiry, we must also

assume that Plaintiffs are correct that allowing Intervenors to compete in those

races violated Title IX.    With these assumptions in mind, we conclude that

Plaintiffs adequately pled a concrete, particularized, and actual injury in fact: the

alleged denial of equal athletic opportunity and concomitant loss of publicly

recognized titles and placements during track and field competitions in which

they participated against and finished behind Intervenors.           On the issue of




                                          6
           Case 21-1365, Document 421, 12/15/2023, 3598445, Page7 of 45




whether Plaintiffs have plausibly stated an injury in fact, all members of the en

banc Court agree unanimously that they have.

      We further conclude that the alleged injury is plausibly redressable by

monetary and injunctive relief. To be sure, no injunction could change the way

past races were run. Moreover, ordering Defendants to alter private records or

records that do not personally pertain to and impact Plaintiffs would provide

Plaintiffs with at most psychic satisfaction, which is not an acceptable Article III

remedy. But Plaintiffs plausibly allege that directing Defendants to alter public

athletic records related to the particularized injury they allege could at least

provide Plaintiffs with the publicly recognized titles and placements they would

have received if Intervenors had not competed and finished ahead of Plaintiffs in

specific races.

      The same would be true if the facts were reversed and an athletic conference

decided to categorize transgender girl athletes as boys. If transgender girls alleged

that such a policy discriminated against them on the basis of sex and deprived

them of publicly recognized titles and placements, they too would have standing




                                         7
           Case 21-1365, Document 421, 12/15/2023, 3598445, Page8 of 45




to bring a Title IX claim. And they too could seek an injunction altering the

existing public records to accurately reflect their alleged athletic achievement.

Similarly, Intervenors have an ongoing interest in litigating against any alteration

to their public athletic records. The legally cognizable interest Intervenors have in

protecting the records of their athletic achievements, including times and

placements in races they have run, is materially indistinguishable from the interest

Plaintiffs assert.

       Defendants argue that an injunction to alter the relevant records would not

be fair or appropriate. That may be. But our precedent establishes that the

fairness, justice, and novelty of a remedy are equitable considerations that the

district court would need to evaluate when exercising its discretion to fashion

appropriate injunctive relief, not factors for determining Article III standing.

       The second reason for remand to the district court concerns whether

Plaintiffs have a private right of action to monetary damages, under a framework

originating from the Supreme Court’s decision in Pennhurst State School & Hospital

v. Halderman, 451 U.S. 1 (1981). Because Congress enacted Title IX pursuant to its




                                          8
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page9 of 45




Spending Clause power, the statute operates like a contract: in exchange for

federal funds, educational institutions agree to comply with Title IX and its

implementing regulations. In keeping with the contractual nature of this bargain,

if an institution lacked notice of a Title IX violation, private parties generally

cannot recover monetary damages for the violation. We do not resolve today

whether Plaintiffs or Defendants are correct as to the availability of monetary

damages in this case. Rather, consistent with the view espoused by Intervenors,

there is good reason here to consider the merits of Plaintiffs’ Title IX claims before

or in tandem with the question of notice. Courts typically have not analyzed notice

as a freestanding issue before reaching the merits of a Title IX claim, and

understandably so.     The parties here dispute whether, in order to recover

monetary damages, Plaintiffs can establish there was adequate notice that

allowing transgender girls to compete in girls’ sports violated Title IX. This

question is difficult to answer without first considering whether allowing

transgender girls to compete in girls’ sports even violates Title IX to begin with.

Yet the district court concluded that it was required to resolve the theoretical




                                          9
           Case 21-1365, Document 421, 12/15/2023, 3598445, Page10 of 45




availability of monetary damages before reaching the merits of Plaintiffs’ Title IX

claims. That was error. On remand, we direct the district court to reach the merits

before or in tandem with the question of notice.

       Accordingly, we VACATE the judgment of the district court and REMAND

for further proceedings. On remand, the district court 1 should assess in the first

instance whether Plaintiffs’ complaint states a claim for a violation of Title IX.

                                      BACKGROUND

I.     Factual Allegations 2

       For the past decade, the Connecticut Interscholastic Athletic Conference

(CIAC), a nonprofit organization that governs interscholastic sports in

Connecticut, has applied a policy permitting high school students to participate

on athletic teams consistent with their established gender identity (the CIAC

Policy). The CIAC Policy directs member school districts to determine students’




1 In their brief before the three-judge panel of this Court, Plaintiffs requested that the case be
reassigned to a different district court judge upon remand. We deny that request.
2 The factual allegations are taken from Plaintiffs’ second amended complaint and any
incorporated documents, and they are assumed to be true at this stage. See DiFolco v. MSNBC
Cable L.L.C., 622 F.3d 104, 111 (2d Cir. 2010).


                                               10
         Case 21-1365, Document 421, 12/15/2023, 3598445, Page11 of 45




eligibility to participate on teams “based on the gender identification of that

student in current school records and daily life activities in the school and

community at the time that sports eligibility is determined for a particular season.”

CIAC By-Laws Article IX, Section B. Students are “not . . . permitted to participate

in practices or to try out for gender specific sports teams that are different from

their publicly identified gender identity at that time or to try out simultaneously

for CIAC sports teams of both genders.” Id.

      Plaintiffs Selina Soule, Chelsea Mitchell, Alanna Smith, and Ashley Nicoletti

are four non-transgender female athletes who competed in high school track in

Connecticut. During the 2017, 2018, and 2019 track seasons, Plaintiffs competed

in CIAC-sponsored events against two transgender female athletes, Andraya

Yearwood and Terry Miller, who are Intervenors in this case. In some but not all

races, Intervenors finished ahead of Plaintiffs. For example, in the 2019 state open

indoor 55m final, Plaintiff Mitchell finished in 3rd place behind Intervenors Miller

and Yearwood. For each Plaintiff, the complaint identifies at least one race in

which she allegedly competed against and lost to one or both Intervenors. The




                                         11
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page12 of 45




complaint further alleges that at times, Intervenor Miller’s and Intervenor

Yearwood’s results meant that they qualified for the next level of competition and

certain Plaintiffs did not. For example, Plaintiff Soule finished 8th in the 2019 state

open indoor 55m preliminary race, losing to both Intervenors Miller and

Yearwood, who took 1st and 2nd place. The complaint alleges that if Intervenors

Miller and Yearwood had not competed in that race, Plaintiff Soule would have

qualified for the regional championship.

      In Plaintiffs’ view, the CIAC Policy of allowing participation consistent with

an individual’s established gender identity discriminated against them by

requiring Plaintiffs to compete against transgender girls, who Plaintiffs allege

have a “physiological athletic advantage.” App’x 140. Plaintiffs claim that by

putting them at this alleged competitive disadvantage, the CIAC Policy violates

Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681, which prohibits

sex discrimination in education by institutions that receive federal financial

assistance.




                                          12
         Case 21-1365, Document 421, 12/15/2023, 3598445, Page13 of 45




II. Procedural History

      Beginning in 2018, Plaintiffs and their parents complained to CIAC officials

and their respective schools, alleging that the CIAC Policy denied them fair and

equal competitive opportunities and the publicly recognized titles and placements

they deserved. Defendants continued to enforce the CIAC Policy. In June 2019,

Plaintiffs filed a Title IX complaint with U.S. Department of Education’s Office for

Civil Rights, which launched a formal investigation. As the spring 2020 track

season approached, Plaintiffs turned to federal court to attempt to prevent

Intervenors Yearwood and Miller from competing consistent with their

established gender identity as girls.

      In February 2020, Plaintiffs commenced this action in the District of

Connecticut against the CIAC and several of its member school districts. Plaintiffs

principally sought (1) a declaration that Defendants violated Title IX; (2) an

injunction prohibiting Defendants from enforcing the CIAC Policy; (3) an

injunction requiring Defendants to “correct” their official athletic records by

giving “female athletes” the “credit and/or titles” they “would have




                                        13
         Case 21-1365, Document 421, 12/15/2023, 3598445, Page14 of 45




received . . . but for the participation” of transgender girls in “elite competitions

designated for girls or women”; (4) an injunction requiring Defendants to further

“correct” the records by “remov[ing]” transgender girls from the records for those

competitions and “remov[ing] times achieved” by transgender girls “from any

records purporting to record times achieved by girls or women”; (5) nominal and

compensatory damages; and (6) attorneys’ fees and expenses under 42 U.S.C.

§ 1988. App’x 175–76 (Second Amended Complaint). The district court allowed

Yearwood, Miller, and the Connecticut Commission on Human Rights and

Opportunities to intervene as Intervenor-Defendants.

      Soon after the case commenced, the COVID-19 pandemic broke out, causing

all spring track events to be cancelled. In August 2020, Defendants moved to

dismiss the operative complaint for lack of subject-matter jurisdiction and for

failure to state a claim on which relief could be granted, pursuant to Rules 12(b)(1)

and 12(b)(6) of the Federal Rules of Civil Procedure.

      In April 2021, the district court granted Defendants’ motion to dismiss. See

Soule ex rel. Stanescu v. Conn. Ass’n of Schs., Inc., No. 20-cv-201, 2021 WL 1617206




                                         14
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page15 of 45




(D. Conn. Apr. 25, 2021). First, the district court found that Plaintiffs’ request for

an injunction prohibiting Defendants from enforcing the CIAC Policy going

forward was moot. By that time, Plaintiffs Soule and Miller and both Intervenors

had all graduated from high school. Plaintiffs Smith and Nicoletti had not yet

graduated, but they could not identify any transgender student against whom

they were likely to compete. Second, the district court dismissed Plaintiffs’ request

for an injunction requiring Defendants to “revise” their athletic records, reasoning

that Plaintiffs failed to establish the redressability element of standing for that

form of relief. Id. at *7. Finally, the district court held that Plaintiffs’ claims for

monetary damages were barred because under Pennhurst State School & Hospital v.

Halderman, 451 U.S. 1 (1981), “monetary relief is available in private suits under

Title IX only if the defendant received adequate notice that it could be liable for

the conduct at issue” and Defendants “did not receive the requisite notice.” Soule,

No. 20-cv-201, 2021 WL 1617206, at *8. Though Plaintiffs argued that “the question

of notice should be deferred until a later stage of the case,” the district court

determined that doing so would be improper. Id. at *8 n.13. It reasoned that if




                                          15
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page16 of 45




monetary damages were barred under Pennhurst, “the action is subject to dismissal

in its entirety because the only remaining form of relief sought in this case . . . is

insufficient, standing alone, to sustain jurisdiction.”       Id.     (quotation marks

omitted). The district court did not reach the merits question of whether Plaintiffs

plausibly allege a violation of Title IX.

      Plaintiffs timely appealed to the Second Circuit. On December 16, 2022, a

panel affirmed the judgment of the district court. Soule ex rel. Stanescu v. Conn.

Ass’n of Schs., Inc., 57 F.4th 43 (2d Cir. 2022). Plaintiffs conceded that their claim

for injunctive relief barring enforcement of the CIAC Policy going forward was

moot. As for the remaining claims, the panel held that Plaintiffs lacked standing

to seek an injunction “rewriting the records” because they failed to establish a

redressable injury in fact, and that their claim for monetary damages was barred

under Pennhurst. Id. at 50–56. Like the district court, the three-judge panel did not

reach the merits question of whether Plaintiffs stated a valid claim under Title IX.

In February 2023, the Court ordered that the appeal be reheard en banc, limited to

the issues of injury in fact, redressability, and Pennhurst notice.




                                            16
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page17 of 45




                                   DISCUSSION

       We review de novo a district court’s dismissal of a complaint for lack of

standing and for failure to state a claim on which relief can be granted. Donoghue

v. Bulldog Invs. Gen. P’ship, 696 F.3d 170, 173 (2d Cir. 2012). We construe the

complaint in Plaintiffs’ favor, accepting all material factual allegations as true. Id.

       The scope of this case has changed since it was before the district court and

since it was before the original three-judge panel. Only two live issues remain

before us: whether Plaintiffs have Article III standing to sue for the remedies they

seek and whether Pennhurst bars their claim for monetary damages. For the

reasons that follow, we conclude (1) that Plaintiffs have pled facts sufficient to

establish standing to seek monetary damages and some of the requested injunctive

relief, and (2) that the district court can and should reach the merits of Plaintiffs’

Title IX claims before or in tandem with the question of Pennhurst notice.

Consistent with the outcome on appeal advocated for both by Plaintiffs and by

Intervenors, we remand to the district court to consider the merits question in the

first instance.




                                          17
         Case 21-1365, Document 421, 12/15/2023, 3598445, Page18 of 45




I.    Standing

      Article III limits the federal judicial power to deciding “Cases” and

“Controversies.” U.S. Const. art. III § 2. “Under Article III, a case or controversy

can exist only if a plaintiff has standing to sue,” meaning a personal stake in the

outcome of the litigation. United States v. Texas, 143 S. Ct. 1964, 1969 (2023). This

limitation ensures that the judiciary “respects the proper—and properly limited—

role of the courts in a democratic society” by refraining from expounding on issues

that courts “have no business deciding.” DaimlerChrysler Corp. v. Cuno, 547 U.S.

332, 341 (2006) (quotation marks omitted). But courts must equally refrain from

narrowing constitutional standing requirements beyond what Article III dictates,

lest we needlessly bar plaintiffs with justiciable claims from having their day in

court. Standing is about who may access the courthouse, not about the merits of

the claims to be heard once inside. “[T]he fundamental aspect of standing is its

focus on the party seeking to get his complaint before a federal court and not on

the issues he wishes to have adjudicated” and “[t]he standing issue must therefore




                                         18
            Case 21-1365, Document 421, 12/15/2023, 3598445, Page19 of 45




be resolved irrespective of the merits of the substantive claims.” United States v.

Vazquez, 145 F.3d 74, 80–81 (2d Cir. 1998) (cleaned up).

      As the party invoking federal jurisdiction, Plaintiffs bear the burden of

establishing Article III standing by showing three elements: (1) that they “suffered

an injury in fact,” (2) that the injury “is fairly traceable” to Defendants’ challenged

conduct, and (3) that the injury “is likely to be redressed by a favorable judicial

decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). The “manner and degree

of evidence required” to meet this burden depends on the stage of litigation. Lujan

v. Defs. of Wildlife, 504 U.S. 555, 561 (1992). “At the pleading stage, general factual

allegations of injury resulting from the defendant’s conduct may suffice . . . .” Id.

Moreover, “[s]tanding is not dispensed in gross; rather, plaintiffs must

demonstrate standing for each claim that they press and for each form of relief that

they seek.” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2208 (2021) (citation

omitted).

      Defendants contend that Plaintiffs failed to establish the injury in fact and

redressability prongs of standing. As set forth below, we disagree.




                                          19
         Case 21-1365, Document 421, 12/15/2023, 3598445, Page20 of 45




      A. Injury In Fact

      To constitute an injury in fact sufficient to sustain Article III standing, an

alleged harm must be (1) concrete, (2) particularized, and (3) actual or imminent.

TransUnion, 141 S. Ct. at 2203. To be concrete, an injury must be “real, and not

abstract.” Id. at 2204 (quoting Spokeo, 578 U.S. at 340). While traditional tangible

harms such as physical and monetary injuries readily qualify as concrete, so do

some intangible harms, particularly if they have a “close historical or common-law

analogue.” Id. To be “particularized,” an injury “must affect the plaintiff in a

personal and individual way.” Spokeo, 578 U.S. at 339 (quotation marks omitted).

Finally, an injury is “actual or imminent” if it has actually happened or is

“certainly impending.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013)

(quotation marks omitted).

      In this case, Plaintiffs allege that the CIAC Policy deprived them of an

opportunity to compete in fair and non-discriminatory high school track races, in

violation of Title IX. Moreover, the complaint alleges that Plaintiffs’ results in

those races were specifically impacted by the CIAC Policy: “each Plaintiff has




                                        20
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page21 of 45




identified at least one specific instance in which she allegedly raced against—and

finished behind—a girl who is transgender.” Intervenors’ Br. at 28–29. The

complaint further alleges that three of the Plaintiffs have additionally identified

races in which they would have qualified to advance to the next level of

competition if Intervenors had not participated. Intervenors, the transgender

athletes who would be impacted by an adverse ruling, agree with Plaintiffs that

this suffices to establish injury in fact. So do we.

      First, Plaintiffs allege a concrete injury: the denial of “equal athletic

opportunities” and loss of publicly recognized titles and placements in track and

field competitions, in violation of Title IX. App’x 163. The Supreme Court has

identified “discriminatory treatment” as an example of a “concrete, de facto,

injur[y].” TransUnion, 141 S. Ct. at 2205 (quotation marks omitted). In cases

involving claims of discriminatory treatment, the alleged harm is frequently

twofold: plaintiffs are discriminated against and that discriminatory treatment

results in the denial of certain benefits that they would otherwise have enjoyed.

Here, Plaintiffs allege that they were denied equal opportunities in track and field




                                          21
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page22 of 45




competitions and, as a result, they were also denied the publicly recognized titles

and placements that would have flowed from those opportunities. And crucially

for Plaintiffs’ request for an injunction to alter the records, the alleged impact of

the CIAC Policy on Plaintiffs is measurable, not abstract or speculative. Plaintiffs’

claim is not that they might have won placements and titles if Intervenors had not

competed, but rather that they certainly would have. See Spokeo, 578 U.S. at 340

(“A ‘concrete’ injury must be ‘de facto’; that is, it must actually exist.” (quoting

Black's Law Dictionary 479 (9th ed. 2009))); see also Bird v. Lewis & Clark Coll., 303

F.3d 1015, 1017–19 (9th Cir. 2002) (finding standing for injunctive relief because

plaintiff alleged “a plausible causal connection between her academic performance

. . . and the alleged discrimination” (emphasis added)).           Though a court

considering Plaintiffs’ claims on the merits might ultimately conclude that

competing under the CIAC Policy did not deprive them of equal athletic

opportunity and amount to discriminatory treatment under Title IX, standing “in

no way depends on the merits of the claim.” Ariz. State Legislature v. Ariz. Indep.

Redistricting Comm’n, 576 U.S. 787, 800 (2015) (quotation marks omitted).




                                         22
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page23 of 45




      Second, the alleged injury is particularized because Plaintiffs are athletes

who personally competed in CIAC-sponsored events, rather than, for instance,

bystanders who simply wish to challenge the CIAC Policy because they disagree

with it on principle.      See, e.g., McCormick ex rel. McCormick v. Sch. Dist. of

Mamaroneck, 370 F.3d 275, 284 (2d Cir. 2004) (holding that an alleged injury related

to the scheduling of girls’ soccer was “particularized” because plaintiffs were

“soccer players who the parties have stipulated would play soccer for their high

schools” if the challenged schedule changed). Finally, the injury is actual because

it is alleged to have already occurred.

      B. Redressability

      To satisfy the redressability element of Article III standing, a plaintiff must

show that it is “likely, as opposed to merely speculative, that the [alleged] injury

will be redressed by a favorable decision.” Lujan, 504 U.S. at 561 (quotation marks

omitted). A plaintiff makes this showing when the relief sought “would serve to

. . . eliminate any effects of” the alleged legal violation that produced the injury in

fact. Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 105–06 (1998).




                                            23
            Case 21-1365, Document 421, 12/15/2023, 3598445, Page24 of 45




       Plaintiffs must separately establish standing for each form of relief sought.

See TransUnion, 141 S. Ct. at 2208. Therefore, we address whether Plaintiffs’

alleged injury in fact is likely redressable both by monetary damages and by the

specific injunctive relief sought in the complaint. 3

               1. Monetary Damages

       In their prayer for relief, Plaintiffs seek “[a]n award of nominal and

compensatory damages and other monetary relief as permitted by law.” App’x

176. All parties acknowledge that some form of monetary damages could redress

Plaintiffs’ alleged injury. 4 Because Plaintiffs’ claim is “based on a completed



3 We do not address Plaintiffs’ request for an injunction prohibiting Defendants from enforcing
the CIAC Policy going forward. As conceded by Plaintiffs at oral argument before the three-
judge panel of this Court, that claim is now moot because “all Plaintiffs have graduated from high
school and are no longer subject to the Policy.” Soule, 57 F.4th at 47 n.2; see Cook v. Colgate Univ.,
992 F.2d 17, 19 (2d Cir. 1993) (holding that “the end of the ice hockey season and the graduation
of the last of the plaintiffs render this [Title IX] action moot” because “[n]one of the plaintiffs can
benefit from an order requiring equal athletic opportunities for women ice hockey players”).
4Defendants’ brief asserts that “nominal damages may be available in some Title IX cases,” but
that “they are not available in this particular case by virtue of Pennhurst State School and Hospital
v. Halderman, 451 U.S. 1, 17 (1981)”—in other words, monetary damages are unavailable
“[b]ecause the law does not authorize [them],” not because they would fail to redress Plaintiffs’
alleged injury. Defendants’ Br. at 37. At oral argument, Defendants took the position that
Plaintiffs have not alleged “an injury in fact . . . that would be redressable by money damages if
money damages are available under Pennhurst.” Transcript at 40. To the extent that Defendants
have changed their position, we reject their view of redressability via monetary damages.


                                                  24
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page25 of 45




violation of a legal right”—their Title IX right to equal athletic opportunity and

related loss of publicly recognized titles and placements—“nominal damages

provide” at least some “necessary redress.” Uzuegbunam v. Preczewski, 141 S. Ct.

792, 802 (2021). So too would compensatory damages, if available, which are

definitionally “intended to redress the concrete loss that the plaintiff has suffered

by reason of the defendant’s wrongful conduct.” Cooper Indus., Inc. v. Leatherman

Tool Grp., Inc., 532 U.S. 424, 432 (2001).

             2. Injunctive Relief to Alter Athletic Records

      Plaintiffs’ prayer for relief additionally includes two requests for an

injunction related to the “correct[ion]” of Defendants’ official athletic records:

      (D) An injunction requiring all Defendants to correct any and all
      records, public or non-public, to remove male athletes from any
      record or recognition purporting to record times, victories, or
      qualifications for elite competitions designated for girls or women,
      and conversely to correctly give credit and/or titles to female athletes
      who would have received such credit and/or titles but for the
      participation of athletes born male and with male bodies in such
      competitions;
      (E) An injunction requiring all Defendants to correct any and all
      records, public or non-public, to remove times achieved by athletes
      born male and with male bodies from any records purporting to
      record times achieved by girls or women . . . .


                                             25
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page26 of 45




App’x 176. We conclude that Plaintiffs have standing to seek some, but not all, of

this requested injunctive relief. Specifically, as explained below, we conclude that

an injunction could plausibly redress the injury that allegedly resulted from

Plaintiffs’ loss of publicly recognized titles and placements in specific races at

which they competed against and finished behind Intervenors.

      Once again, at this stage in the litigation, we must draw all reasonable

inferences in favor of Plaintiffs and assess only whether the allegations are

sufficient to establish that their requested injunctive relief would theoretically

redress the alleged denial of equal athletic opportunity and concomitant loss of

publicly recognized titles and placements. To be sure, no court has the ability to

rewind time. Plaintiffs cannot rerun different races or compete in championships

long past. But Plaintiffs “need not show that a favorable decision will relieve

[their] every injury.” Larson v. Valente, 456 U.S. 228, 243 n.15 (1982) (emphasis in

original). Article III only requires that some form of altering the records “would

at least partially redress” the alleged injury. Meese v. Keene, 481 U.S. 465, 476 (1987).

Here, the complaint alleges that Plaintiffs would have placed higher in several




                                           26
            Case 21-1365, Document 421, 12/15/2023, 3598445, Page27 of 45




races but for the participation of Intervenors Yearwood and Miller, who finished

before them in those races. In this procedural posture, we must assume Plaintiffs

are correct that permitting transgender girls to compete in those races violated

federal law and that Plaintiffs’ current records are therefore impacted by an

unlawful policy. It is plausible that altering certain public athletic records—for

example, indicating that Plaintiff Mitchell finished 1st rather than 3rd in the 2019

state open indoor 55m final—would at least partially redress the alleged denial of

equal athletic opportunity by giving Plaintiffs the higher placements and titles

they would have received without the CIAC Policy in place, albeit belatedly. 5 In

other words, it is likely that granting the above-described injunctive relief would

“eliminate [some] effects of” the alleged legal violation that produced the injury




5 Nothing in our analysis requires counterfactual imagination about how Plaintiffs would have
ranked if the races were rerun. See Pérez, J., Concurring Op. at 7. Rather, the injury is theoretically
redressable by adjusting final placements and titles in specific races that were actually run. The
same is true, for example, in cases where athletic records are retroactively altered to account for
cheating or doping. Nor does anything in our analysis contemplate that multiple Plaintiffs would
place first in some imagined race. See id. at 8. For example, Mitchell’s record could theoretically
be altered to indicate a 1st place finish in the 55m final, whereas Soule’s record could theoretically
be altered to indicate that she finished 6th in the 55m preliminary race, which would make her a
finals qualifier.


                                                  27
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page28 of 45




in fact, Steel Co., 523 U.S. at 106, because those effects allegedly include loss of

publicly recognized titles and placements in specific races that were run—effects

that persist even after their high school athletic careers have ended.

      The same would be true were the shoe on the other foot. Imagine if some

other athletic conference adopts a policy that, unlike the CIAC Policy, categorizes

transgender girl athletes as boys in their public records of athletic

accomplishment. Under today’s holding, if those transgender girls sue alleging a

Title IX violation, they would have standing to seek to have those public records

altered to indicate their alleged accurate athletic achievement. And by similar

logic, the Intervenors have an ongoing interest in litigating against any alteration

of their public athletic records. See Brennan v. N.Y.C. Bd. of Educ., 260 F.3d 123,

128–29 (2d Cir. 2001) (explaining that to intervene in an action as of right, a party

must “show an interest in the action” and “demonstrate that the interest may be

impaired by the disposition of the action” (quoting N.Y. News, Inc. v. Kheel, 972

F.2d 482, 485 (2d Cir. 1992))); id. at 129 (citing Fed. R. Civ. P. 24(a)(2)); see also

Motion to Intervene at 9–10, Soule, No. 20-cv-201 (S.D.N.Y. Feb. 21, 2020), ECF No.




                                         28
            Case 21-1365, Document 421, 12/15/2023, 3598445, Page29 of 45




36 (Intervenors arguing they satisfied the Rule 24 standard in part because they

“have a protectable legal interest . . . in protecting records of their past

accomplishments”).          The legal interest that underlies Yearwood and Miller’s

intervention in this case—an interest in protecting against after-the-fact revision of

the public records of their race times and placements—is materially

indistinguishable from the interest Plaintiffs invoke. 6

       The significance of these athletic records may not be apparent to those who

do not participate in the world of competitive sports. But say, for example, that a

group of plaintiffs challenged a policy that allegedly discriminated against girls in

academics by leaving them off the honor roll (or denying Latin honors, see Diss.

Op. at 18-19). Surely, those plaintiffs would have standing to seek an injunction



6The dissent’s theory of standing for injunctive relief would leave the transgender girl athletes in
the above hypothetical without standing to seek alteration of existing athletic records consistent
with their athletic achievement. As to the Intervenors, the dissent acknowledges that they have
an interest in preventing alteration of their individual records. See Diss. Op. at 21 (collecting cases
confirming that student athletes have standing to prevent alteration of athletic records). But it
asserts that this interest only exists when an athlete faces a future threat of records expungement.
Id. This approach draws a distinction without a difference. In both cases, student athletes have
an interest in the accurate public representation of their athletic achievements—an interest
equally threatened by record expungement or inaccurate records from the start. And in both
cases, ensuring that public records accurately reflect those achievements provides more than the
“psychic satisfaction” derived from “a favorable judgment.” Steel Co., 523 U.S. at 107.


                                                  29
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page30 of 45




to alter their academic records.         To many, publicly recognized athletic

achievements are just as important as academic ones. Drawing a distinction

between the two would import a value judgment into the standing analysis where

it does not belong.

      Nor does the standing analysis in this case depend on the relevance of the

injunctive remedy for obtaining some additional future benefit, such as

employment opportunities. See Diss. Op. at 13-16. The loss of publicly recognized

titles and lower placements in specific races is itself an existing and ongoing effect

of Plaintiffs’ alleged injury—an effect that would be redressed by public record

alterations reflecting those achievements. That one may not deem them valuable

is simply not the relevant inquiry for standing purposes. Just as an award of

nominal damages partially (even if nominally) remedies the violation of a legal

right, injunctive relief can partially (even if nominally) remedy the existing harms

that flow from the past denial of equal opportunity alleged in this case. See

Uzuegbunam, 141 S. Ct. at 801 (“True, a single dollar often cannot provide full




                                         30
         Case 21-1365, Document 421, 12/15/2023, 3598445, Page31 of 45




redress, but the ability to effectuate a partial remedy satisfies the redressability

requirement.” (quotation marks omitted)).

      Now, there are several key limitations to our holding on standing. First,

Plaintiffs do not have standing to seek remedies for generalized grievances about

the CIAC Policy. Arguably, Plaintiffs’ prayer for relief does not stop with their

own records allegedly impacted by the CIAC Policy. In paragraph E, Plaintiffs

seek the removal of “record times” achieved by transgender girls from “any

records purporting to record times achieved by girls or women,” seemingly

irrespective of whether the record times personally impacted Plaintiffs. App’x 176

(emphasis added).     In paragraph D, Plaintiffs ask for an order requiring

Defendants both to remove transgender girls from “any record or recognition

purporting to record times, victories, or qualifications for elite competitions

designated for girls or women,” and to give non-transgender female athletes the

“credit and/or titles” they would have received in races but for the participation

of transgender girls. Id. (emphasis added). To the extent that these prayers for

relief request that Defendants update records that have no bearing on Plaintiffs’




                                        31
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page32 of 45




own athletic achievement—such as by removing the victories of transgender girls

who never competed against Plaintiffs or by making revisions to records that

would only benefit non-transgender girls who are not parties to this suit—

Plaintiffs have no standing.

      “Relief that does not remedy the injury suffered cannot bootstrap a plaintiff

into federal court; that is the very essence of the redressability requirement.” Steel

Co., 523 U.S. at 107. Here, Plaintiffs allege an injury in fact because they claim that

they were personally denied equal athletic opportunities and experienced the

associated loss of publicly recognized titles and placements. A “generalized

grievance[]” that a school’s athletic offerings violate Title IX would be “too abstract

to constitute a ‘case or controversy’ appropriate for judicial resolution.”

Schlesinger v. Reservists Comm. to Stop the War, 418 U.S. 208, 217, 227 (1974). By the

same token, the remedy sought must redress the particularized harm that

Plaintiffs allege. An order requiring Defendants to remove record times and

achievements of transgender girls that have no impact on Plaintiffs’ own athletic

achievements would afford Plaintiffs at most the “psychic satisfaction” of “a




                                          32
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page33 of 45




favorable judgment,” which “is not an acceptable Article III remedy because it

does not redress a cognizable Article III injury.” Steel Co., 523 U.S. at 107. Plaintiffs

may disagree with the way in which the CIAC’s policy recognizes transgender

girls and their athletic achievements, but policy disagreement without

particularized harm is not a basis for Article III standing. Thus, Plaintiffs only

have standing to seek the injunctive relief requested to the extent they seek to alter

records related to the particularized injury they allege.

      Second, Plaintiffs’ standing to seek injunctive relief ordering Defendants to

alter their athletic records is limited to the alteration of public athletic records.

Plaintiffs’ prayer for relief also asks for a court to order Defendants to alter their

private records. See App’x 172 (“Plaintiffs are entitled to injunctive relief requiring

all Defendants to correct all league or school records, public or private.”). But such

an order would afford Plaintiffs at most “psychic satisfaction,” which, as explained

above, is insufficient to establish Article III standing. Steel Co., 523 U.S. at 107.

      Finally, in holding that Plaintiffs have standing to seek injunctive relief

ordering an alteration to certain public records, we express no view as to whether




                                           33
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page34 of 45




the requested relief would be fair or appropriate, even assuming the success of

Plaintiffs’ claims on the merits. Defendants argue that Plaintiffs’ requested relief

regarding their own records would also retroactively alter Intervenors’ athletic

records and therefore would raise serious equitable concerns. That may be. As

Plaintiffs recognized at oral argument, Intervenors “haven’t done anything

wrong.” Transcript at 8. Like Plaintiffs, their participation in girls’ track events

was consistent with the existing CIAC Policy. Moreover, Intervenors participated

in girls’ track to the exclusion of other opportunities, which they could not now go

back and pursue. Defendants and Intervenors also argue that the novelty of the

requested injunctive relief makes it an unsuitable means of remedying the alleged

injury in fact.

       Defendants view such equitable considerations as barriers to establishing

Article III redressability. And although Intervenors agree with our conclusion that

Plaintiffs have alleged an injury in fact likely redressable by monetary damages,

their brief argued that it could not be redressed by an injunction ordering an

alteration of the records because “depriving other athletes of victories [they] won




                                        34
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page35 of 45




based on the rules in place at the time” would be purportedly “unprecedented.”

Intervenors’ Br. at 32. But Intervenors walked back this position at oral argument

and agreed with Plaintiffs that arguments about the requested relief’s

unprecedented nature, however persuasive, may not go to our jurisdiction to hear

Plaintiffs’ claims. We adopt that view.

      The fairness, justice, and novelty of a remedy do not speak to its ability to

“redress a cognizable Article III injury.” Steel Co., 523 U.S. at 107. Instead, as

Plaintiffs and Intervenors agreed at oral argument, the district court would

evaluate such equitable considerations when exercising its discretion to fashion

appropriate injunctive relief if the case proceeds to that stage. “An injunction is a

matter of equitable discretion; it does not follow from success on the merits as a

matter of course,” and “the balance of equities and consideration of the public

interest [] are pertinent in assessing the propriety of any injunctive relief,

preliminary or permanent.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 32

(2008). The fact “that [a] plaintiff has standing to pursue her claim does not mean

that she is entitled to the relief she seeks.” E.M. v. N.Y.C. Dep’t of Educ., 758 F.3d




                                          35
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page36 of 45




442, 461 (2d Cir. 2014). Factors such as whether the requested relief is “justified,”

“reasonable,” and fair “bear not on our standing analysis under Article III, but on

the equities of [the] plaintiff’s claim for relief.” Id. Likewise, to the extent that

there may be legal obstacles to the requested injunction, “the legal availability of

a certain kind of relief” goes to the merits, not jurisdiction. Chafin v. Chafin, 568

U.S. 165, 174 (2013); accord MOAC Mall Holdings LLC v. Transform Holdco LLC, 143

S. Ct. 927, 935 (2023).

      In sum, Plaintiffs have plausibly alleged a concrete, particularized, and

actual injury in fact redressable by monetary damages or an injunction ordering

Defendants to alter public athletic records related to the particularized injury they

allege.

II. Pennhurst Notice

      Though our jurisdictional inquiry ends with standing, the district court

dismissed Plaintiffs’ claims for monetary damages on different grounds:

Defendants’ lack of notice of liability under Title IX. We vacate that portion of the

district court’s opinion on narrow grounds, based on the district court’s erroneous




                                         36
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page37 of 45




conclusion that it must resolve the question of notice before reaching the merits of

Plaintiffs’ Title IX claims.

      An implied private right of action exists under Title IX, and because the right

is judicially implied, courts “have a measure of latitude to shape a sensible

remedial scheme that best comports with the statute.” Gebser v. Lago Vista Indep.

Sch. Dist., 524 U.S. 274, 284 (1998). In addition to injunctive relief, monetary

damages are an available remedy in private Title IX actions. Franklin v. Gwinnett

Cnty. Pub. Schs., 503 U.S. 60, 76 (1992). However, because Congress enacted Title

IX pursuant to its Spending Clause power, private damages are not necessarily

available for every violation of Title IX. In Pennhurst State School & Hospital v.

Halderman, the Supreme Court explained that “legislation enacted pursuant to the

spending power is much in the nature of a contract: in return for federal funds, the

States agree to comply with federally imposed conditions.” 451 U.S. 1, 17 (1981).

Accordingly, “[t]he legitimacy of Congress’ power to legislate under the spending

power . . . rests on whether the State [or funding recipient] voluntarily and

knowingly accepts the terms of the ‘contract’” and there can “be no knowing




                                         37
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page38 of 45




acceptance if a State [or funding recipient] is unaware of the conditions or is unable

to ascertain what is expected of it.” Id. The contractual nature of Spending Clause

legislation limits not only “the scope of conduct for which funding recipients may

be held liable for money damages” but also “the scope of available remedies in

actions brought to enforce Spending Clause statutes. After all, when considering

whether to accept federal funds, a prospective recipient would surely wonder not

only what rules it must follow, but also what sort of penalties might be on the

table.” Cummings v. Premier Rehab Keller, P.L.L.C., 142 S. Ct. 1562, 1570 (2022)

(cleaned up).

      In the context of Title IX, the Supreme Court has held that Pennhurst does

not bar private damages “where the funding recipient engages in intentional

conduct that violates the clear terms of the statute,” Davis ex rel. LaShonda D. v.

Monroe Cnty. Bd. of Educ., 526 U.S. 629, 642 (1999), such as when school officials

choose not to stop a teacher’s sexual harassment of a student or when a school

board retaliates against a teacher for complaining about sex discrimination in the

school’s athletic program. See Franklin, 503 U.S. at 74–75 (sexual harassment);




                                         38
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page39 of 45




Jackson v. Birmingham Bd. of Educ., 544 U.S. 167, 182 (2005) (retaliation). But in cases

“that do not involve official policy” of the school receiving federal funding, private

damages are unavailable unless an official with authority to act on the school’s

behalf has “actual knowledge of discrimination in the recipient’s programs” and

is deliberately indifferent. Gebser, 524 U.S. at 290.

      Plaintiffs and Defendants in this case dispute (1) whether Pennhurst’s notice

requirement is applicable to Title IX suits challenging an official policy of a

funding recipient, such as the CIAC Policy, and (2) if so, whether the notice

requirement is satisfied.    The district court and panel both determined that

Plaintiffs must satisfy the Pennhurst notice requirement to seek monetary

damages, and that they failed to do so. We need not and do not reach these

questions because we vacate the district court’s judgment on another basis: its

apparent—and erroneous—determination that it lacked discretion to reach the

merits of Plaintiffs’ claims without first determining if monetary damages would

be available under Pennhurst.




                                          39
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page40 of 45




      In opposing Defendants’ motion to dismiss, Plaintiffs argued that “the

question of notice should be deferred until a later stage of the case.” Soule, No. 20-

cv-201, 2021 WL 1617206, at *8 n.13. Addressing this argument, the district court

determined that it lacked the discretion to do what Plaintiffs asked, reasoning that

“if the plaintiffs’ claims for money damages are barred due to lack of adequate

notice, the action is subject to dismissal in its entirety because the only remaining

form of relief sought in this case—attorney’s fees and expenses—is insufficient,

standing alone, to sustain jurisdiction.” Id. (quotation marks omitted). In other

words, the district court concluded that in order to reach the merits, it had to

determine whether it had jurisdiction. And, having determined that there was no

standing to seek injunctive relief, the district court concluded that it must first

assess whether monetary damages are available under Pennhurst. The district

court erroneously concluded that if monetary damages are not available under

Pennhurst, it would be required to dismiss the entire matter on jurisdictional

grounds. But as noted previously, “the legal availability of a certain kind of relief”

does not impact a court’s jurisdiction to decide a claim. Chafin, 568 U.S. at 174.




                                         40
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page41 of 45




      Moreover, we agree with Intervenors that there are strong reasons for

addressing the merits first in this case. To begin, none of Pennhurst’s Title IX

progeny have analyzed notice as a freestanding issue before reaching the merits.

Instead, the Supreme Court cases applying Pennhurst to Title IX either begin with

a merits analysis of whether the challenged conduct was prohibited or weave that

analysis into considerations of notice. See Franklin, 503 U.S. at 75; Gebser, 524 U.S.

at 280–93; Davis, 526 U.S. at 643; Jackson, 544 U.S. at 182–84.

      We leave open the possibility that there may be circumstances in which it

would be appropriate to decide the question of notice as a threshold freestanding

issue. But under the circumstances of this present dispute, we direct the district

court on remand to reach the merits before or in tandem with the question of

notice. The parties here do not debate whether there was adequate notice of

conduct. Defendants obviously knew that the CIAC Policy existed. Rather, the

debate surrounds whether there was adequate notice that the CIAC Policy violates




                                          41
           Case 21-1365, Document 421, 12/15/2023, 3598445, Page42 of 45




Title IX and whether such notice is even required. 7 The question of adequate

notice is difficult to answer without first considering whether the CIAC Policy

does indeed violate Title IX. The entwinement of what the law requires and

whether there is notice of what the law requires is especially apparent where, as

here, Plaintiffs argue that the requisite notice stems from the statutory text itself—

not, for example, a judicial decision or agency guidance. Cf. Bennett v. Ky. Dep’t of

Educ., 470 U.S. 656, 666 (1985) (explaining that Pennhurst was no defense to liability

because “[t]he requisite clarity in this case is provided by Title I; States that chose

to participate in the program agreed to abide by the requirements of Title I as a

condition for receiving funds”).

       This sequencing approach—reaching the merits before or in tandem with

the question of notice—also has the benefit of aiding in the development of the




7 In Mansourian v. Regents of the University of California, 602 F.3d 957 (9th Cir. 2010), the Ninth
Circuit held that “no notice requirement is applicable to Title IX claims that rest on an affirmative
institutional decision,” including “decisions with respect to athletics,” which are “easily
attributable to the funding recipient and always—by definition—intentional.” Id. at 967–68
(cleaned up). Plaintiffs ask us to join the Ninth Circuit in holding that Pennhurst’s notice
requirement does not apply to Title IX claims based on an official policy. Because we vacate the
district court’s Pennhurst holding on a different basis, we decline to reach this question.


                                                 42
           Case 21-1365, Document 421, 12/15/2023, 3598445, Page43 of 45




law, at least in the circumstances of this case. If courts skip ahead to ask whether

damages will be available under Pennhurst, then there may be fewer opportunities

for Title IX law to develop on the merits in suits seeking only monetary relief,

which means fewer opportunities for funding recipients to be put on notice as to

what Title IX requires of them. 8 And unlike, say, qualified immunity—which

provides “an immunity from suit”—Pennhurst notice is “a mere defense to

[damages] liability,” Pearson v. Callahan, 555 U.S. 223, 231 (2009), so there is not the

same countervailing reason to avoid resolving the merits first.

       In sum, the district court was not required to consider whether monetary

damages are barred under Pennhurst before reaching the merits of Plaintiffs’ Title

IX challenge.     For that reason, we vacate the portion of its decision dismissing

Plaintiffs’ claim for monetary damages.             On remand, the district court shall

consider the merits before or in tandem with the question of notice.




8The concern with allowing the law to develop will not present itself when plaintiffs properly
maintain a claim for injunctive relief. But unlike in this case, plaintiffs do not always—and
sometimes cannot—bring and sustain injunctive claims. See, e.g., Cook, 992 F.2d at 19 (collecting
cases).


                                               43
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page44 of 45




                                   CONCLUSION

      The holding of the en banc Court is limited.            A majority of the Court

concludes that Plaintiffs have standing to sue for some of the injunctive relief

outlined in the complaint. As to the availability of monetary damages, a different

majority of the Court concludes that the district court on remand must resolve the

underlying merits question before or in tandem with the Pennhurst question.

Although competing concurring and dissenting opinions join issue on how the

Pennhurst analysis should be resolved and whether money damages are available,

a majority of the Court concludes a remand is appropriate without resolution of

these issues at this stage. At base, a broad majority of the Court adopts the

outcome advocated for both by Plaintiffs and by the girls who are transgender

who intervened: the case is remanded for the district court to resolve whether

Plaintiffs have stated a claim for a violation of Title IX.

      The splintered nature of the Court’s opinions should not in any way suggest

that its holding encompasses a determination on that highly contested underlying

merits question. It does not. The Court reaches no conclusion as to whether




                                           44
          Case 21-1365, Document 421, 12/15/2023, 3598445, Page45 of 45




Plaintiffs have plausibly stated a Title IX violation. Nor does the Court opine on

the question of whether—even if Plaintiffs have stated such a claim—they are

entitled to any of the injunctive relief they seek.

      Nor should the splintered nature of the Court’s en banc holding obfuscate

the extent of agreement reached. The Court unanimously concludes that Plaintiffs

have plausibly alleged an injury in fact, which would be redressable by monetary

damages if monetary damages are available under Pennhurst. This is a conclusion

of standing and remedies law that implicates access to courts for everyone.

      The judgment of the United States District Court for the District of

Connecticut is VACATED and REMANDED for further proceedings consistent

with this Opinion. Plaintiffs’ request for reassignment to a different district court

judge on remand is DENIED.




                                          45
